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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE


PRINCIPAL GROWTH STRATEGIES, LLC,
a Delaware limited liability company;
PLATINUM           PARTNERS             VALUE     Chapter 15
ARBITRAGE FUND L.P. (in Official
Liquidation), a Cayman Islands exempted           Case No. 16-12925-scc
limited partnership; and MARTIN TROTT &
CHRISTOPHER SMITH, Joint Official                 Pending in the United States
Liquidators of Platinum Partners Value            Bankruptcy Court for the Southern
Arbitrage Fund L.P. (in official liquidation),    District of New York

       Plaintiffs,

vs.                                               C.A. No. ____________

AGH PARENT LLC, a Delaware limited
liability company; SENIOR HEALTH
INSURANCE              COMPANY              OF
PENNSYLVANIA, a Pennsylvania insurance
company; FUZION ANALYTICS, Inc., a
Delaware corporation; BANKERS CONSECO
LIFE INSURANCE COMPANY, a New York
insurance       company;       WASHINGTON
NATIONAL INSURANCE COMPANY, an
Indiana      insurance     company;      CNO
FINANCIAL GROUP, INC., a Delaware
corporation; 40/86 ADVISORS, INC., a
Delaware corporation; PRIVATE BANKERS
LIFE ANNUITY LTC 2, a Delaware
reinsurance trust, as successor in interest to
BBIL ULICO 2014 Trust; WASHINGTON
NATIONAL LTC 2, a Delaware reinsurance
trust, as successor in interest to BRE WNIC
2013 LTC Primary; BHLN-AGERA CORP., a
Delaware corporation; BOLN-AGERA CORP.,
a Delaware corporation; BBLN-AGERA
CORP.,        a     Delaware       corporation;
BEECHWOOD RE INVESTMENTS LLC, a
Delaware limited liability company; KEVIN
CASSIDY; STARFISH CAPITAL, INC., a
New York corporation; and JOHN DOES 1-
100,

Defendants.
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      v.

PLATINUM MANAGEMENT (NY) LLC, a
Delaware limited liability company; MARK
NORDLICHT, DAVID LEVY, MURRAY
HUBERFELD, and DAVID BODNER,

Nominal Defendants.



                                    NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1334, 1446, and 1452, Defendants, CNO Financial Group, Inc.,

(“CNO”), Washington National Insurance Company (“WNIC”), Bankers Conseco Life Insurance

Company (“BCLIC”), and 40/86 Advisors, Inc. (“40/86”), collectively (the “Removing

Defendants”) hereby remove the above captioned case C.A. No. 2019-0431 and all claims and

causes of action from the Court of Chancery of the State of Delaware, New Castle County (the

“Chancery Action”), to the United States District Court for the District of Delaware. This Court

has jurisdiction over this action under 28 U.S.C. §§ 1334 and 1452. As grounds for removal, the

Removing Defendants respectfully show the Court the following:

       1.      This Court has federal bankruptcy jurisdiction over the Chancery Action because it

involves disputes regarding claims and other property of Plaintiff Platinum Partners Value

Arbitrage Fund L.P. (“PPVA”), which is a debtor in a pending chapter 15 bankruptcy proceeding

in the Bankruptcy Court for the Southern District of New York (the “Chapter 15 Case”).

       2.      The Chancery Action is brought by Plaintiffs Martin Trott & Christopher Smith, in

their capacities as the joint official liquidators for Debtor PPVA (the “Joint Liquidators”), seeking

the liquidation of claims and recovery of assets on behalf PPVA. A copy of the verified complaint

(the “Complaint”) filed in the Chancery Action is attached hereto as Exhibit A. The claims

asserted by Plaintiffs in the Chancery Action “aris[e] under” and “relate to” the pending Chapter



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15 Case. See 28 U.S.C. § 1334(b). Because federal bankruptcy jurisdiction exists over the

Chancery Action, removal pursuant to 28 U.S.C. § 1452 is appropriate.

                                        BACKGROUND

       A. PPVA’s Chapter 15 Bankruptcy

       3.      On August 23, 2016, a voluntary petition seeking the liquidation of PPVA was filed

in the Grand Court of the Cayman Islands (the “Cayman Liquidation”).

       4.      On October 18, 2016, the Joint Liquidators filed a petition for chapter 15

bankruptcy on behalf of Debtor PPVA in the United States Bankruptcy Court for the Southern

District of New York (the “Bankruptcy Court”), Case No. 16-12925. In connection with the

Chapter 15 Case, the Joint Liquidators also filed a motion (the “Recognition Motion”) and

supporting declarations seeking recognition of the Cayman Liquidation of PPVA and one of

PPVA’s feeder funds. Copies of the Recognition Motion and supporting declarations are attached

hereto as Exhibits B and C, respectively.

       5.      On November 22, 2016, the Bankruptcy Court entered an order recognizing the

Cayman Liquidation as a foreign main proceeding pursuant to 11 U.S.C. § 1501 et seq. (the

“Recognition Order”). A copy of the Recognition Order is attached hereto as Exhibit D.

       6.      Among other things, the Recognition Order provides that the PPVA Joint

Liquidators “may exercise the powers of a trustee under and to the extent provided by 11 U.S.C.

§§ 1520 and 1521” and “are granted authority to assert claims of the Funds against parties that are

subject to jurisdiction in the United States of America.” See Recognition Order ¶¶ 8, 9.

       7.      On March 25, 2019, the Bankruptcy Court entered a supplement to the Recognition

Order (the “Supplemental Recognition Order,” attached hereto as Exhibit E). The Supplemental

Recognition Order specifically “clarifie[s] that, pursuant to [the Recognition Order], the [Joint




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Liquidators] were entrusted, pursuant to 11 U.S.C. §§ 1521(a)(5) and 1521(b), with the assets of

[PPVA] for administrator and distribution in the [Cayman Liquidation].”

        B. Consolidated SDNY Actions

        8.    The Joint Liquidators filed a related action in the Southern District of New York

(“SDNY”) on November 21, 2018. See Trott v. Platinum Management (NY) LLC, et al., Case No.

18-cv-10936 (the “PPVA SDNY Action”). Like in the Chancery Action, in the PPVA SDNY

Action, the Joint Liquidators seek to liquidate claims of PPVA and recover assets on behalf of

PPVA.

        9.    The PPVA SDNY Action relates to a “Ponzi-like” scheme orchestrated by the

Platinum Partners funds and their principals. There, the Joint Liquidators allege claims arising

from a fraudulent Platinum-Beechwood scheme, including claims connected to Agera Energy and

related transactions. Specifically, with regard to PPVA’s interest in Agera Energy, the Joint

Liquidators assert claims of fraud, aiding and abetting breach of fiduciary duties, and alter ego

concerning an alleged insider transaction designed to strip PPVA of its assets and squander the

purported proceeds.

        10.   The PPVA SDNY Action is related to two other actions pending in the District

Court for the Southern District of New York: (i) Senior Health Insurance Company of

Pennsylvania v. Beechwood Re Ltd. et al., Case No. 18-cv-6658 (JSR) (the “SHIP Action”) and

(ii) Cyganowski v. Beechwood Re Ltd. et al., Case No. 18-cv-12018 (JSR) (the “PPCO Action”)

(collectively with the PPVA SDNY Action, the “Consolidated Actions”).            The Removing

Defendants, co-defendant Senior Health Insurance Company of Pennsylvania (“SHIP”), the Joint

Liquidators and PPVA are all parties in the Consolidated Actions.




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       11.     On January 24, 2019, in the interest of considerable efficiencies to the Court and

parties, District Court Judge Rakoff entered an order directing the Clerk of the Court of SDNY to

create a master docket styled In re Platinum-Beechwood Litigation, Case No. 18-cv-6658 (JSR),

consolidating the PPVA SDNY Action, the PPCO Action, and the SHIP Action and setting forth

a case management schedule for the Consolidated Actions.

       C. Chancery Court Action

       12.     On June 7, 2019, Plaintiffs commenced the Chancery Action by filing a verified

Complaint in the Delaware Court of Chancery.

       13.     The Complaint discusses alleged events leading up to the liquidation of PPVA

commencing June of 2016 including criminal charges filed by the United States Attorney’s Office

for the Southern District of New York in connection with a bribery scheme involving PPVA assets.

The Chancery Action, like the PPVA SDNY Action, relates to a “Ponzi-like” scheme orchestrated

by the Platinum Partners funds and their principals.

       14.     Significantly, the Complaint primarily concerns certain transactions arising from

the fraud related to a note issued by Agera. As set forth above, many of PPVA’s claims in the

PPVA SDNY Action also relate to Agera. In fact, the PPVA SDNY Action complaint and the

Chancery Action complaint share many of the same allegations, oftentimes verbatim, with respect

to the Agera transactions and assert some of the same claims against the same defendants.

       15.     What’s more, in the PPCO Action, the Platinum Partners Credit Opportunities

Master Fund, LP (“PPCO”) joins the chorus of complainants seeking redress for alleged harm

arising from the Agera Note Sale including claims of aiding and abetting breach of fiduciary duty,

aiding and abetting common law fraud, and RICO claims in violation of 18 U.S.C. § 1962(c).




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       16.     PPVA is clearly engaging in improper claim splitting. PPVA is alleging claims

based on Agera that are not only related to, but are intricately intertwined with, the claims it has

asserted in the PPVA SDNY Action.

       17.     PPVA split its claims and filed some of its Agera claims in the Delaware Court of

Chancery for improper reasons. First, it is seeking to avoid having the SDNY resolve these claims

because that court has already dismissed many of PPVA’s over-the-top claims. Second, PPVA

desired to sue Agera’s parent company, AGH Parent, but waited too long to sue AGH Parent in

the PPVA SDNY Action, as there was in the PPVA SDNY Action a May 15, 2019 deadline to join

additional parties to the Consolidated Actions. Hence, the Chancery Action represents nothing but

blatant forum shopping.

       18.     The Complaint asserts various claims on behalf of PPVA against Defendants,

including the Removing Defendants, alleging aiding and abetting breach of fiduciary duty, unjust

enrichment, and breach of certain contracts relating to the Agera Energy note.

                                  GROUNDS FOR REMOVAL

       19.     Removal is appropriate here under 28 U.S.C. § 1452(a) because this Court has

original bankruptcy jurisdiction under 28 U.S.C. § 1334(b). Specifically, under 28 U.S.C.

§ 1452(a) “[a] party may remove any claim or cause of action in a civil action . . . to the district

court for the district where such civil action is pending, if such district court has jurisdiction of

such claim or cause of action under section 1334 of this title.” 28 U.S.C. § 1452(a). Under 28

U.S.C. § 1334(b), [the District Court] has original jurisdiction “of all civil proceedings arising

under title 11, or arising in or related to cases under title 11.” 11 U.S.C. § 1334(b).

       20.     In this Circuit, a proceeding meets the jurisdictional threshold of 28 U.S.C. § 1334

if the outcome of that proceeding could “conceivably have any effect on the estate being




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administered in bankruptcy.” Pacor, Inc. v. Higgins, 743 F.2d 984, 995 (3d Cir. 1984) (emphasis

omitted). “[U]nder the Pacor ‘conceivable effect’ test, ‘related-to’ jurisdiction exists if the

outcome of [a] proceeding could conceivably have any effect on the estate being administered in

bankruptcy. This includes a proceeding whose outcome could alter the debtor’s rights, liabilities,

options, or freedom of action (either positively or negatively) and which in any way impacts the

handing of the administration of the bankrupt estate.” In re Longview Power, LLC, 516 B.R. 282,

290 (Bankr. D. Del. 2014) (citations and quotation marks omitted).

       21.     Here, the Chancery Action undoubtedly “relates to” the Chapter 15 Case. The

PPVA Joint Liquidators are asserting claims on behalf of the chapter 15 debtor PPVA’s bankruptcy

estate and seeking recovery for the benefit of PPVA’s bankruptcy estate. Adjudication of the

Chancery Action would alter the chapter 15 debtor’s rights and liabilities, and, therefore, the

Chancery Action is, at the very least, related to the Chapter 15 Case. See Toth v. Bodyonics, Ltd.,

2017 WL 792172, at *1-2 (E.D. Pa. Mar. 15, 2007) (removal of action under 28 U.S.C. § 1452 on

the basis of “related to” bankruptcy jurisdiction appropriate due to indemnification claims in

removed action having a potential impact on chapter 15 bankruptcy case); British Am. Ins. Co. v.

Fullerton (In re British Am. Ins. Co.), 488 B.R. 205, 223 (Bankr. S.D. Fla. 2013) (finding related

to jurisdiction where the outcome of a removed action would liquidate claims of the debtor and

potentially augment recoveries of creditors).

       22.     In addition, the Chancery Action “aris[es] under” the Bankruptcy Code because the

Joint Liquidators brought the action pursuant to powers granted under chapter 15 and pursuant to

orders of the Bankruptcy Court. In particular, under the Recognition Order, the Bankruptcy Court

specifically granted the Joint Liquidators “authority to assert claims of the Funds against parties

that are subject to jurisdiction in the United States of America.” Recognition Order ¶ 9. Indeed,




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pursuant to the Recognition Order, the Bankruptcy Court ordered that “the administration or

realization of all or parts of the assets of the Funds within the territorial jurisdiction of the United

States of America is hereby entrusted to the [Joint] Liquidators and the [Joint] Liquidators are

hereby established as the exclusive representatives of the Funds in the United States of America.”

Recognition Order ¶ 10.

       23.     The Recognition Order also authorizes the Joint Liquidators to exercise powers

pursuant to 11 U.S.C. §§ 1520 and 1521. The Supplemental Recognition Order specifically

“clarifie[s] that, pursuant to [the Recognition Order], the [Joint Liquidators] were entrusted,

pursuant to 11 U.S.C. §§ 1521(a)(5) and 1521(b), with the assets of [PPVA] for administrator and

distribution in the [Cayman Liquidation].” Supplemental Recognition Order ¶ 2.

       24.     11 U.S.C. § 1521(a)(5) provides that a bankruptcy court may grant any appropriate

relief “entrusting the administration or realization of all or part of the debtor’s assets within the

territorial jurisdiction of the United States to the foreign representative or another person, including

an examiner, authorized by the court.” 11 U.S.C. § 1521(a)(5). Thus, pursuant to the Recognition

Order and Supplemental Recognition Order, the Bankruptcy Court specifically granted the Joint

Liquidators with the authority to realize and recover PPVA’s assets within the United States.

       25.     The Chancery Action is an action to assert claims against and recover assets in the

United States from parties like the Removing Defendants who are U.S. domiciliaries and subject

to jurisdiction in the United States. The Chancery Action and each and every claim and cause of

action asserted therein therefore arises under chapter 15 of the Bankruptcy Code and the

Bankruptcy Court’s orders in the Chapter 15 Case. Removal pursuant to 28 U.S.C. § 1452 is

appropriate as a result of both “related to” and “arising under” bankruptcy jurisdiction.




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                                  TIMELINESS OF REMOVAL

       26.     The Removing Defendants were served with a copy of the summons on June 17,

2019. Accordingly, under 28 U.S.C. § 1446(b) and Rule 9027 of the Federal Rules of Bankruptcy

Procedure, this Notice of Removal is timely because it is being filed within thirty (30) days after

the Removing Defendants received service of a copy of the summons, which is the initial pleading

setting forth the claims for relief on which the Chancery Action is based.

                                               VENUE

       27.     Venue is proper in this Court. Under 28 U.S.C. §§ 1441(a), 1446(a), and 1452(a),

venue lies for this action in the United States District Court for the District of Delaware because it

is the federal judicial district and division embracing the Delaware Court of Chancery, New Castle

County, where the Chancery Action is pending. See 28 U.S.C. § 1452 (authorizing removal “to

the district court for the district where such civil action is pending”).

                      ATTACHMENTS AND STATE COURT NOTICE

       28.     Under 28 U.S.C. § 1446(a) and Bankruptcy Rule 9027, the Removing Defendants

attach hereto as Exhibit F, a copy of the docket sheet in the Chancery Action as evidence that all

documents filed in the Chancery Action are included herein.

       29.     As required by 28 U.S.C. § 1446(d), the Removing Defendants will promptly give

Plaintiffs written notice of the filing of this Notice of Removal, and will file a copy of this Notice

of Removal with the Clerk of the Delaware Court of Chancery, New Castle County.

       30.     Nothing in this Notice shall be interpreted as a waiver or relinquishment of the

Removing Defendants’ right to assert any defense or affirmative matter.




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                                        FINAL ORDERS

       31.       The Removing Defendants do not consent to the entry of final orders and/or

judgments by the Bankruptcy Court and reserve their rights to seek a withdrawal of the reference

to the District Court based upon consolidation of related pending actions in the District Court.

                                         CONCLUSION

       All of the requirements of 28 U.S.C. §§ 1334, 1441, and 1452(a) have been satisfied, and

Notice is hereby given that this Chancery Action is removed from the Delaware Court of Chancery,

New Castle County, to the United States District Court for the District of Delaware.




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 July 16, 2019




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